Case 1:18-cv-00121-JNP Document 2-4 Filed 10/03/18 PageID.47 Page 1 of 4




Exhibit “4”



                                              Exhibit 4 to Complaint, page 1 of 4
Case 1:18-cv-00121-JNP Document 2-4 Filed 10/03/18 PageID.48 Page 2 of 4




                                              Exhibit 4 to Complaint, page 2 of 4
 Case 1:18-cv-00121-JNP Document 2-4 Filed 10/03/18 PageID.49 Page 3 of 4




       6.       I was also forced, along with      Ja ne Doe 1,    and D1 D and      D2Ds        daughter, to

touch the men's genitals. Sometimes, this was just          Perp   and D10 Sometimes there were others.

The men would expose themselves and we were forced to touch them. There were also occasions

when we were forced to suck on their penises. There were times when we were forced to touch

the bare breasts of     020        and of our babysitter. There were times when the adults would

also make the kids touch each other.

       7.       The touching     parties would occasionally include               other activities,   such as

swimmi ng, where we would be told to swim nude for the adults. We had an indoor pool in our

house. While at one of these parties, we were forced to watch our Perp., have sex with our babysitter.

Another time, we saw him having sex with our grandmother                  LS      as well

       8.       I also recall being touched on multiple occasions while getting ready for a

gymnastics class 1 was in with         C.M.               010 & 020's          oldest daughter. Frequently,

020 or D1 D would make up some excuse, like that my underwear was showing, in order to get

me to take off my leotard. They would then "help" me to take off my leotard. I remember always

wanting to keep my underpants on, but both D1 D and 020 would want me to take them off.

They would then proceed to touch me in my genital area. This seemed to happen every time they

took me to gymnastics with     C.M. ·.

       9.       My younger sister,   Jane Doe 2,   began being involved in the touching parties as she

got older. 111en, my younger brother      John Doe 1    became involved as weU. They were touched,

sexually assaulted and objectified in a similar fashion that me and my older sister            Jane Doe 1   were

subjected to.

        10.     These ''touching parties" were frequently videotaped. While it seems that all the

adults took turns behind the camera, I recall 020 doing most of the videotaping. I believe this


                                                                        Exhibit 4 to Complaint, page 3 of 4
 Case 1:18-cv-00121-JNP Document 2-4 Filed 10/03/18 PageID.50 Page 4 of 4




video camera belonged to D1 D and       D2D         I don't believe our family had a video camer a

back then.

       11.    In order to get us to keep the touching parties a secret, I recall being threatened and

pWlished. For example, one time my maternal grandmother,         LS    , made us drink coffee. She

and the other adults told us that we were bad, and that even if we told others what happened, no

one would believe us because we drank coffee.


       Signed on the �� day of August, 2018, at             Sc- lf L.c.. /ce.,,   (city or county),

-------- (state).


                                                 Jane Doe 5
                                                                          �-

                                                -----------
                                              Signature




                                                               Exhibit 4 to Complaint, page 4 of 4
